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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-------------------------------------------------------x

UNITED STATES OF AMERICA

        -v-                                                           No. 20 CR 317-LTS

JAMES MAYO,

                 Defendant.

-------------------------------------------------------x

                                                     ORDER

                 A pretrial conference is scheduled to take place via teleconference in the above

captioned case on January 22, 2021, at 9:00 a.m. As requested, defense counsel will be given

an opportunity to speak with their clients by telephone for fifteen minutes before the proceeding

begins (i.e., at 8:45 a.m.); defense counsel should make sure to answer the telephone number

that was previously provided to Chambers at that time.

                 To access the call, the parties must dial 888-363-4734, enter the access code

1527005#, and the security code 3254#. (Members of the press and public may call the same

number, but will not be permitted to speak during the hearing.) In accordance with the Court’s

Emergency Individual Rules and Practices in Light of COVID-19, counsel should adhere to the

following rules and guidelines during the conference:

              1. Each party should designate a single lawyer to speak on its behalf (including
                 when noting the appearances of other counsel on the telephone).

              2. Counsel should use a landline whenever possible, should use a headset instead of
                 a speakerphone, and must mute themselves whenever they are not speaking to
                 eliminate background noise. In addition, counsel should not use voice-activated
                 systems that do not allow the user to know when someone else is trying to speak
                 at the same time.




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           3. To facilitate an orderly teleconference and the creation of an accurate transcript,
              counsel are required to identify themselves every time they speak. Counsel
              should spell any proper names for the court reporter. Counsel should also take
              special care not to interrupt or speak over one another.

           4. If there is a beep or chime indicating that a new caller has joined while counsel is
              speaking, counsel should pause to allow the Court to ascertain the identity of the
              new participant and confirm that the court reporter has not been dropped from the
              call.

               Persons granted remote access to proceedings are reminded of the general

prohibition against photographing, recording, and rebroadcasting of court proceedings.

Violation of these prohibitions may result in sanctions, including removal of court issued media

credentials, restricted entry to future hearings, denial of entry to future hearings, or any other

sanctions deemed necessary by the court.

       SO ORDERED.

Dated: New York, New York
       January 13, 2021

                                                               _/s/ Laura Taylor Swain___
                                                               LAURA TAYLOR SWAIN
                                                               United States District Judge




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